       Case 1:17-cv-02590-TSC Document 108 Filed 01/25/19 Page 1 of 5




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  Hopi Tribe, et al.,

       Plaintiffs,                                   Case No. 1:17-cv-2590 (TSC)
            v.

  Donald J. Trump, et al.,

       Defendants.


  Utah Diné Bikéyah, et al.,
                                                     Case No. 1:17-cv-2605 (TSC)
       Plaintiffs,

            v.

  Donald J. Trump, et al.,

       Defendants.


  Natural Resources Defense Council, Inc., et al.,
                                                     Case No. 1:17-cv-2606 (TSC)
       Plaintiffs,

            v.

  Donald J. Trump, et al.,

       Defendants.


  San Juan County, Utah,
                                                     Consolidated Cases
       Defendant-Intervenor.


MOTION FOR BRIEFING SCHEDULE ON DEFENDANT-INTERVENORS’ BRIEF IN
                  SUPPORT OF MOTION TO DISMISS
           Case 1:17-cv-02590-TSC Document 108 Filed 01/25/19 Page 2 of 5




          Pursuant to this Court’s Order dated January 11, 2019 (ECF No. 105), Defendant-

Intervenors American Farm Bureau Federation and Utah Farm Bureau Federation, San Juan

County, and the State of Utah1 have conferred regarding a proposed briefing schedule to address

Defendant-Intervenors’ briefs in support of the pending motion to dismiss in Hopi Tribe v.

Trump, 17-cv-2590 (ECF No. 49), as consolidated. Defendant-Intervenors have conferred with

Federal Defendants, who do not object to the proposed briefing schedule. Defendant-Intervenors

also conferred with Plaintiffs, who do object to the proposed briefing schedule.

          Defendant-Intervenors jointly propose that Defendant-Intervenors file a single, joint brief

in support of Federal Defendants’ motion to dismiss on or before February 15, 2019, not to

exceed sixty substantive pages.2 Plaintiffs’ joint response shall be filed on or before March 1,

2019, not to exceed sixty substantive pages, and any joint reply to Plaintiffs’ response shall be

filed on or before March 15, 2019, not to exceed thirty substantive pages. In the interest of

judicial economy, Defendant-Intervenors will endeavor to eliminate any unnecessary repetition




1
    This Court previously granted the motion to intervene of Defendant-Intervenors Brandon

Sulser, BigGame Forever, Sportsmen for Fish & Wildlife, the Utah Bowmen’s Association, the

Utah Wild Sheep Foundation, Michael Noel, Sandy Johnson, and Gail Johnson. Those

Intervenors have already fully briefed the motion to dismiss and are not covered by this proposed

scheduling order.
2
    “Substantive pages” excludes non-substantive sections of the brief—i.e., the caption page, table

of contents, table of authorities, table of acronyms, and certificate of service.


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         Case 1:17-cv-02590-TSC Document 108 Filed 01/25/19 Page 3 of 5




of arguments made by Federal Defendants, and also propose that Plaintiffs be limited in their

response to issues presented in Defendant-Intervenors’ joint brief.



       Respectfully submitted this 25th day of January, 2019.




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       Case 1:17-cv-02590-TSC Document 108 Filed 01/25/19 Page 4 of 5




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                                     4
         Case 1:17-cv-02590-TSC Document 108 Filed 01/25/19 Page 5 of 5




                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 25, 2019, I electronically transmitted the attached

document to the Clerk of Court using the ECF System for filing, which caused electronic

notification of such filing to be sent to all counsel of record, as more fully reflected on the Notice

of Electronic Filing.



                                                              /s/ Zhonette M. Brown
                                                              Zhonette M. Brown




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